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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA

Continental Resources, Inc.,           )
                                       )
               Plaintiff,              )     ORDER AMENDING PRETRIAL DEADLINES
                                       )     AND RESCHEDULING STATUS CONFERENCE
       vs.                             )     FINAL PRETRIAL CONFERENCE, AND TRIAL
                                       )
Rink Construction, Inc.,               )
                                       )     Case No. 1:16-cv-091
               Defendant.              )


       On May 1, 2020, the parties filed a Stipulation to Extend Scheduling Order Deadlines and

a Third Amended Scheduling/Discovery Plan. The court ADOPTS the parties’ stipulation (Doc.

No. 87), APPROVES the parties’ Third Amended Scheduling/Discovery Plan, and AMENDS the

pretrial deadlines as follows:

       1.      The parties shall have until September 14, 2020, to complete fact discovery and to

               file fact discovery motions

       2.      The parties shall provide the names of expert witnesses and complete reports under

               Rule 26(a)(2) as follows:

               a.      Plaintiff:   September 14, 2020

               b.      Defendant: October 14, 2020

       3.      The parties shall have until December 14, 2020, to complete discovery depositions

               of expert witnesses and to file expert discovery motions.

       4.      The parties shall have until October 13, 2020, to file other dispositive motions

               (summary judgment as to all or part of the case).




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       5.     Disclosure or discovery of electronically stored information:

              Both parties have taken steps to preserve electronically stored information (ESI). The

              parties agree to produce such information in PDF or TIFF, or in the format in which

              it was created such as (without limitation) WORD, WordPerfect, and Excel. ESI will

              be produced via disk, thumb drives, Dropbox, and/or email. With respect to email

              searches, the parties will attempt to agree on reasonable search terms and key words

              to be used to search for responsive and relevant emails. Parties reserve the right to

              request the native version of any document and to object to the production of native

              versions. The parties agree to make all reasonable efforts to resolve any disputes that

              may arise between the parties in regard to the scope of electronic discovery or

              disclosure, and the costs of the same. Parties will attempt to address these issues, if

              any, without Court involvement. In the event of inadvertently produce privileged or

              trial preparation materials, the parties agree to allow the other party to "clawback"

              those documents pursuant to Fed. R. Civ. P. 26(5)(B).             Further "clawback"

              provisions will be provided in an agreed protective order.

       The status conference that was set for June 17, 2020, shall be rescheduled to September14,

2020 at 9:00 a.m. by telephone before the magistrate judge.

       The final pretrial conference that was set for January 19, 2021 shall be rescheduled for April

20, 2021, at 10:00 a.m. by telephone before the magistrate judge.

       To participate in the status conference and final pretrial conference, counsel shall dial (877)

810-9415 and enter access code 8992581.

       The jury trial scheduled for February 1, 2021, shall be rescheduled for May 3, 2021, at 9:00


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a.m. in Bismarck (Eagle Courtroom) before Judge Hovland (2 days).

       IT IS SO ORDERED.

       Dated this 4th day of May, 2020.

                                          /s/ Clare R. Hochhalter
                                          Clare R. Hochhalter, Magistrate Judge
                                          United States District Court




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